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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ }
AND LUIS GORDILLO, ET AL., }
individually and on behalf of all )
others similarly situated, )

Petitioners-—Plaintiffs,

Vv. C.A. No. 18-10225-MLW

KEVIN McALEENAN, ET AL.,
Respondents-—Defendants.
ORDER

WOLF, D.J. June 20, 2019

As orally ordered in court on June 18, 2019, it is hereby
ORDERED that:

1. Respondents shall, by June 19, 2019, at 6:00 p.m., file
two affidavits of Marcos Charles, Acting Field Office Director for
the Boston Field Office of the Office of Enforcement and Removal
Operations of U.S. Immigration and Customs Enforcement ("Boston
ICE-ERO"). The first affidavit shall address: how Boston ICE-ERO
considered the factors mentioned in Charles's June 17, 2019
declaration (Docket No. 272 at 934), or any other factors included
in the monthly detention report (Docket No. 268-3 at 5), before
deciding to effectuate Mr. V.'s order of removal; and who made the
decision to effectuate Mr. V's removal, or state why respondents

should not be required to provide that information. The second

affidavit shall address: why a requirement that respondents
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provide petitioners with at least five business days' notice prior
to the removal of any class member would be burdensome or
inappropriate; why a requirement that when respondents order a
class member removed, they provide petitioners with a
representation that Boston ICE-ERO considered more than the
outstanding removal order would be burdensome or inappropriate;
why a requirement that when respondents order a class member
removed, they provide petitioners with the reasons for the removal
decision would be burdensome or inappropriate; why respondents
should not be required to provide a record of communications
associated with each decision to remove a class member. Respondents
may request an extension until June 20, 2019, at 12:00 noon, if
necessary.

2. Petitioners may, by June 19, 2019, at 6:00 p.m., file a
memorandum supplementing their Motion for Temporary Restraining
Order (Docket No. 268), which addresses, among other things, the
implications of petitioners' Administrative Procedure Act,
Immigration and Nationality Act, and Equal Protection claims on
their argument for a temporary restraining order.

3. Respondents shall provide the name of Mr. V's last

counsel to petitioners forthwith.

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